Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 1 of 13




                     EXHIBIT L
      Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 2 of 13




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 SINGULAR COMPUTING LLC,                              Civil Action No. 1:19-cv-12551-FDS

        Plaintiff,

 v.

 GOOGLE LLC,

        Defendant.


                       NOTICE OF DEPOSITION OF GOOGLE LLC
                         PURSUANT TO FED. R. CIV. P. 30(B)(6)

       PLEASE TAKE NOTICE that Plaintiff depose, by oral questions, Defendant, pursuant to

Fed. R. Civ. P. 26 and Fed. R. Civ. P. 30(b)(6), regarding the matters identified in the attached

Schedule A.

       The deposition will occur remotely by videoconference, commencing at 9:00 am EST on

October 23, 2020, or at another mutually agreed date and time. The deposition will continue

from day to day until complete.

       The deposition will be held before a qualified court reporter and will be recorded

videographically and stenographically.

       Prior to the deposition, Defendant shall designate in writing to Plaintiff the name(s) of the

person(s) who will testify on its behalf in response to this Notice.



Dated: October 2, 2020                        By: /s/ Paul J. Hayes
                                              Paul J. Hayes (BBO #227000)
                                              Matthew D. Vella (BBO #660171)
                                              Kevin Gannon (BBO #640931)
                                              Daniel J. McGonagle (BBO #690084)
                                              Michael J. Ercolini (pro hac vice)
                                              PRINCE LOBEL TYE LLP
                                              One International Place, Suite 3700


                                                  1
      Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 3 of 13




                                            Boston, MA 02110
                                            Tel: (617) 456-8000
                                            Email: phayes@princelobel.com
                                            Email: mvella@princelobel.com
                                            Email: kgannon@princelobel.com
                                            Email: dmcgonagle@princelobel.com
                                            Email: mercolini@princelobel.com

                                            ATTORNEYS FOR THE PLAINTIFF



                               CERTIFICATE OF SERVICE

       I certify that on October 2, 2020, I served this document on Defendant by sending a copy
via email to Defendant’s counsel of record.


                                            /s/ Paul J. Hayes




                                               2
       Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 4 of 13




                                            SCHEDULE A

                              DEFINITIONS AND INSTRUCTIONS

        The following definitions and instructions shall apply to each of the following topics of

examination.

        1.      “Google,” “you” “Defendant” or “your” means Google, LLC, its employees,

officers, directors, attorneys, and its agents, parents, subsidiaries, branches, predecessors, or

successors-in-interest, or any other persons who have acted or purported to act for its behalf.

        2.      “Plaintiff” or “Singular” means Singular Computing LLC.

        3.      “Accused Products” means all products, computer systems, devices, and other

hardware/software identified in Plaintiff’s Amended Complaint (Dkt. 37) and in Plaintiff’s

Infringement Contentions, including without limitation at least:

                i.      Google Cloud Tensor Processing Unit Version 2 (“TPU v.2”);

                ii.     Google Cloud Tensor Processing Unit Version 3 (“TPU v.3”);

                iii.    Software that runs workloads on TPU v.2 or TPU v. 3 including

             TensorFlow; and

                iv.     Larger compute systems that incorporate (i), (ii) and/or (iii) such as TPU

             Pods.

        4.       “Accused Services” means all Google services delivered in whole or in part by

use of any Accused Product, including Translate, Photos, Search, Assistant, Gmail and Cloud

(including Cloud AI and Cloud TPU) .

        5.      “Asserted Patents” or “Patents-in-Suit” refers, collectively, to US Patent Nos.

8,407,273 (“’273 Patent”); 9,218,156 (“’156 Patent”); and 10,416,961 (“’961 Patent”), as well as

any other patent(s) that Plaintiff asserts in this action.




                                                    3
      Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 5 of 13




       6.         “Communication” means the transmittal or receipt of information (in the form of

facts, ideas, inquiries, or otherwise) regardless of the medium used to transmit or receive the

information.

       7.         “Document” is synonymous in meaning and equal in scope to the usage of this

term in Fed. R. Civ. P. 34(a). Any draft or non-identical copy is a separate document within the

meaning of this term. Documents include communications.

       8.         “Person” means any natural person or any business, legal, or governmental entity

or association.




                                                  4
      Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 6 of 13




                                MATTERS FOR EXAMINATION

        The deponent(s) shall be prepared to address the following topics:

        1.     The structure, function, and operation of the Accused Products, including those
features and functionalities identified in Plaintiff’s Infringement Contentions.

       2.    Source code relating to the Accused Products, including all register-transfer
language (RTL), hardware description language (HDL), Verilog, and VHDL files.

       3.     Google’s research and development efforts relating to the Accused Products,
including Google’s alleged conception and design of the Accused Products.

         4.      The dates (including the first and last dates) of the use, manufacture, sale, offer for
sale, testing, and importation of the Accused Products.

       5.       Google’s decision to develop, build, and implement in its data centers the Accused
Products.

       6.    The structure, function, and operation of software utilized in connection with the
Accused Products, including Google software and any third party software used to deliver Accused
Services.

       7.      Google’s instructions to any user (including any Google engineer, scientist, or
technician), Google customer, or potential Google customer on how to use the Accused Products.

        8.      The circumstances under which Google first became aware of the ’273 Patent.

        9.      The circumstances under which Google first became aware of the ’156 Patent.

        10.     The circumstances under which Google first became aware of the ’961 Patent.

       11.    The circumstances under which Google first became aware of Singular’s
technology, and under which Google first became aware of the patent-pending status of Singular’s
technology.

       12.     All investigations, discussions, analyses, opinions or advice (whether written or
oral) concerning the ’273 Patent, including, without limitation, the validity, inventorship,
ownership, infringement, enforceability, or scope of the ’273 Patent, or whether any specific
product(s) does or does not infringe one or more claims of the ’273 Patent.

       13.     All investigations, discussions, analyses, opinions or advice (whether written or
oral) concerning the ’156 Patent, including, without limitation, the validity, inventorship,
ownership, infringement, enforceability, or scope of the ’156 Patent, or whether any specific
product(s) does or does not infringe one or more claims of the ’156 Patent.




                                                   5
      Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 7 of 13




       14.     All investigations, discussions, analyses, opinions or advice (whether written or
oral) concerning the ’961 Patent, including, without limitation, the validity, inventorship,
ownership, infringement, enforceability, or scope of the ’961 Patent, or whether any specific
product(s) does or does not infringe one or more claims of the ’961 Patent.

      15.     Google’s knowledge of Singular, its products, services, research, technology,
employees, and intellectual property, including how and when Google first learned of each.

       16.    Google’s decision to use the Accused Products to deliver in whole or in part any
Google product (including without limitation the Accused Services), or any Google AI or machine
learning process used to provide any Google product, including without limitation the Accused
Services.

          17.   Google’s efforts to design around any claim of the Asserted Patents.

        18.    Google’s grounds for its contention that as of 2017 it believed it did not infringe
any claim of the ’273 and ’156 Patents.

          19.   Google’s grounds for its contention that it does not infringe any claim of the ’961
Patent.

          20.   Any prior art or alleged prior art to the Asserted Patents of which Google is aware.

        21.    The commercial success of the Accused Products and of any products and services
(including the Accused Services) that make use of the Accused Products.

        22.    The current popularity of the Accused Products and of any products and services
(including the Accused Services) that make use of the Accused Products.

       23.     Past, current, and future demand for the Accused Products and for any products
and services (including the Accused Services) that make use of the Accused Products.

        24.    Google’s pricing for the Accused Products and for any products and services
(including the Accused Services) that make use of the Accused Products.

       25.    The marketing of the Accused Products and of any products and services (including
the Accused Services) that make use of the Accused Products.

      26.    The utility and advantages of the Accused Products as perceived by Google over
any competing technologies.

        27.     Google’s responses, supplemental responses, and amended responses to Singular’s
interrogatories in this action.




                                                 6
      Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 8 of 13




       28.     The organizational and hierarchical structure of the product group(s) and business
segment(s) responsible (or formerly responsible) for the Accused Products, and specifically
including those responsible for the design of TPU v.2 and TPU v.3.

       29.     Google’s document retention policies, including for its storage, retention,
archiving, and destruction of documents, including electronic documents.

       30.     Google’s intellectual property policies and practices.

        31.     Any patents or patent applications filed by Google that would cover any aspect of
the Accused Products; any continuations, continuations-in-part, or divisions thereof; and any
reissues or extensions thereof.

       32.     US Patent No. 10,621,269.

         33.     Any documents created by or on behalf of Google, or received by Google, before
the filing of the complaint in this action that reference one or more of the Asserted Patents.

       34.     Other patent litigation(s) involving any of the Accused Products.

       35.   Sworn testimony, including but not limited to deposition and trial testimony, by
Google or anyone testifying on Google’s behalf in any proceeding relating to the Accused
Products.

       36.     Google’s policies and practices concerning licensing intellectual property to and
from others.

      37.     Licenses, patent licenses, settlement agreements, covenants not to sue, or other
agreements entered into by Google relating to the Accused Products.

       38.     Patent acquisitions by Google relating to the Accused Products.

       39.     Royalties (including patent royalties) or license fees that Google has paid or is
paying relating to the Accused Products.

       40.     Royalties (including patent royalties) or license fees that Google has collected or
received, is collecting or receiving, or expects to collect or receive relating to the Accused
Products.

       41.     Revenues and pre-tax income attendant to the Accused Products or attendant to any
products or service (including the Accused Services) making use of the Accused Products.

       42.     Operating costs and/or expenses for the Accused Products or any products or
services (including the Accused Services) making use of the Accused Products.

       43.     Research and development costs and expenses relating to the Accused Products.


                                                7
      Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 9 of 13




       44.    Operating profits for the Accused Products, or any products or services (including
the Accused Services) making use of the Accused Products.

        45.    Projections for sales or use of the Accused Products, or for any products or services
(including the Accused Services) making use of the Accused Products.

        46.     Development profit and loss statements for the Accused Products, or any products
or services (including the Accused Services) making use of the Accused Products.

       47.     Google’s publicly-disclosed financial statements.

        48.    The monetary and/or nonmonetary value that Google’s customers and end users of
the Accused Products and Accused Services attribute to the features of the Accused Products,
including the existence and substance of any related studies, surveys, presentations, reports, or
other similar documentation.

      49.    The monetary and/or nonmonetary value that Google accords the features of the
Accused Products and Accused Services, including the pricing of such features and the existence
and substance of any related studies, surveys, presentations, reports, or other similar
documentation.

       50.     Any comparisons of the Accused Products and Accused Services to comparable
products and services of any other person or entity.

      51.     Google-internal or third-party reports, reviews and studies of all products in
competition with the Accused Products and Accused Services.

        52.   Reports, reviews and/or studies of competitor systems and services employing any
of the Accused Products or Accused Services.

        53.     Presentations, whether written, verbal, recorded, televised and/or broadcast (via the
Internet or otherwise), concerning the Accused Products and Accused Services.

        53.    Google’s business and/or financial relationship with any third party concerning the
design, development, implementation, use, testing. sale, distribution, or promotion of the Accused
Products, including any components and/or features thereof.

      54.    License agreements and contracts concerning the design, development,
implementation, use, testing, sale, distribution, or promotion of the Accused Products, including
any components and/or features thereof.

       55.    Internal analyses or market studies prepared by (or for) Google concerning the
importance or benefits of the Accused Products and Accused Services, including any features or
components thereof.




                                                 8
      Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 10 of 13




       56.     Profit and loss (P&L) statements of any product group or business segment(s)
responsible (or formerly responsible) for the Accused Products or Accused Services.

      57.    Product Requirement Documents (PRD) or similar development planning
documents concerning the Accused Products.

       58.    Competitive intelligence/analysis reports (internal and/or third-party) concerning
the Accused Products and Accused Services.

        59.      Price lists, profit or loss statements or projections, and market studies relating to
the sale of, or sale of services in connection with, the Accused Products or Accused Services.

      60.      Google’s initial disclosures pursuant to Rule 26(a)(1) of the Federal Rules of Civil
Procedure, including any documents or things identified in Google’s initial disclosures.

       61.     Any documents or things Google expects to use, introduce into evidence, or
otherwise rely upon at any hearing, trial, submission to the Court, or deposition in this matter.

        62.    Capital asset requests and analyses associated with developing Google’s data
centers without the Accused Products.

       63.     Google’s long-term capital investment plans relating to its data centers.

       64.     Projections of Google’s long-term data center needs and shortfalls.

       65.    Capital asset requests and analyses associated with developing Googles data centers
with the Accused Products.

       66.     Operating budgets and plans for Google data centers operating without the Accused
Products.

       67.     Operating budgets and plans for Google data centers operating with the Accused
Products.

        68.    Profit and loss statements or other financial analyses prepared by Google related to
the actual operation of its data centers with and without the Accused Products.

       69.      Google’s business planning, long-term capital expenditure plans, or other studies
from prior to the use of the Accused Products.

        70.     Studies performed either internally by Google or by third parties discussing system
architecture for Google data centers with or without the Accused Products.

      71.     Internal studies by Google or third parties discussing the benefits of using the
Accused Products as opposed to other products, computer systems, devices, and other
hardware/software having architectures that differ from those used by the Accused Products.



                                                  9
     Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 11 of 13




       72.     Google’s decision to invest in designing and making the Google Tensor Processing
Unit v.1 (“TPU v.1”) in-house, including business analyses, capital asset requests, research and
development expenditure requests, research and development reports and presentations related to
the development of the TPU v.1, and presentations to management and/or Google’s board to
support the decision to implement the TPU v.1.

        73.    Google’s decision to invest in designing and making the TPU v.2 and TPU v.3 in-
house, including business analyses, capital asset requests, research and development expenditure
requests, research and development reports and presentations related to the development of the
Accused Products, and presentations to management and/or Google’s board to support the decision
to implement the Accused Products.

        74.   The fabrication of the Accused Products, including costs of fabrication and testing
of the Accused Products.

       75.    Budgets and forecasts relating to the development and operation of all Google
Cloud businesses, including Cloud Platform, Cloud AI, and Cloud TPU.

       76.     Google’s actual revenues, costs and profits from the operation of all Google Cloud
businesses, including Cloud Platform, Cloud AI, and Cloud TPU, or any other Google service or
business that makes use of the Accused Products.

       77.     Studies, analyses, and tests of the technical and costs benefits of the TPU v.1.

       78.   Studies, analyses, and tests of the technical and costs benefits of the Accused
Products compared to TPU v.1.

       79.     Studies, analyses, and tests of the technical and costs benefits, including energy,
maintenance, GPU purchases, and IT infrastructure technical and costs benefits due to the
consolidation of Neural Networks training and inference on TPU v.2

        80.     Quantifications, evaluations and estimates of the value to Google of the benefits of
using the Accused Products, including, but not limited to, improved search results, advertising
placement, increases in volume of search and advertising, increased revenues, profits, advertising
rates, and/or click-through rates.

        54.    Google’s internal testing of the Accused Products, including tests measuring the
benefits of implementing the Accused Products.

       81.   Incremental revenues and/or profits earned by Google from use of the Accused
Products compared to other architectures.

       82.    The identity of all Google’s products and services (including the Accused Services)
that use the Accused Products, and when each such Google product or service first used the
Accused Products.



                                                10
      Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 12 of 13




        83.    Google’s decision to implement the TPU v.1 in Google’s products or services
(including the Accused Services).

         84.    Google’s acquisition of DeepMind Technologies, including without limitation
purchase price allocations, the purchase rationale, board approvals, and studies and analyses of the
activities of DeepMind Technologies prepared by or for Google.

      85.     Google’s revenues, costs and profits from the operation of DeepMind
Technologies.

       86.     Licensing or acquisition of any technology, intellectual property, or company
associated with the operation of Google data centers or other hardware for artificial intelligence or
machine learning operations.

      87.    Google’s alleged conception, design, development and testing of the “bfloat16”
number format and its use of the “bfloat16” number format in the Accused Products.

       88.    The identity of all employee(s) at Google who allegedly first conceived of the
“bfloat16” number format and any applications thereof, including its use in the Accused Products.

        89.    Internal codenames, nicknames, or other names or titles used to refer to the Accused
Products or the bfloat16 number format of the Accused Products, as well as any components
thereof or hardware or software related thereto.

        90.   The basis for Google’s determination that but for the Accused Products its data
centers would have to be doubled, including identification of those who shared this view and those
who did not share this view.

       91.     As of 2017, the average cost to build a data center.

       92.     As of 2017, the average cost to maintain a data center.

       93.     As of 2017, Google’s corporate return on investment (ROI) policy.

       94.      Jeffrey Dean’s involvement in the design, development, testing, use, and launch of
the Accused Products, including the contents of any internal communications, documents,
presentations, reports, investigations, emails, memoranda, or any other document authored,
received, or reviewed by Jeffrey Dean referring or relating to the Accused Products.

       95.      Norman Jouppi’s involvement in the design, development, testing, use, and launch
of the Accused Products, including the contents of any internal communications, documents,
presentations, reports, investigations, emails, memoranda, or any other document authored,
received, or reviewed by Norman Jouppi referring or relating to the Accused Products.

       96.   James Laudon’s involvement in the design, development, testing, use, and launch
of the Accused Products, including the contents of any internal communications, documents,


                                                 11
     Case 1:19-cv-12551-FDS Document 510-12 Filed 05/19/23 Page 13 of 13




presentations, reports, investigations, emails, memoranda, or any other document authored,
received, or reviewed by James Laudon referring or relating to the Accused Products.

       97.      Nan Boden’s involvement in the design, development, testing, use, and launch of
the Accused Products, including the contents of any internal communications, documents,
presentations, reports, investigations, emails, memoranda, or any other document authored,
received, or reviewed by Nan Boden referring or relating to the Accused Products.

       98.      Obi Felton’s involvement in the design, development, testing, use, and launch of
the Accused Products, including the contents of any internal communications, documents,
presentations, reports, investigations, emails, memoranda, or any other document authored,
received, or reviewed by Obi Felton referring or relating to the Accused Products.

       99.      Sebastian Thrun’s involvement in the design, development, testing, use, and
launch of the Accused Products, including the contents of any internal communications,
documents, presentations, reports, investigations, emails, memoranda, or any other document
authored, received, or reviewed by Sebastian Thrun referring or relating to the Accused Products.

       100. Quoc Le’s involvement in the design, development, testing, use, and launch of the
Accused Products, including the contents of any internal communications, documents,
presentations, reports, investigations, emails, memoranda, or any other document authored,
received, or reviewed by Quoc Le referring or relating to the Accused Products.

       101. Andrew Phelps’ involvement in the design, development, testing, use, and launch
of the Accused Products, including the contents of any internal communications, documents,
presentations, reports, investigations, emails, memoranda, or any other document authored,
received, or reviewed by Andrew Phelps referring or relating to the Accused Products.

       102. Astro Teller’s involvement in the design, development, testing, use, and launch of
the Accused Products, including the contents of any internal communications, documents,
presentations, reports, investigations, emails, memoranda, or any other document authored,
received, or reviewed by Astro Teller referring or relating to the Accused Products.




                                               12
